Case
 Case1:21-cv-20521-BB
      9:20-mc-81924-RSDocument
                       Document76-41
                                 12 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket11/02/2020
                                                            03/07/2022 Page
                                                                        Page11ofof55




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                        Case Civil No. 20-MC-81924-SMITH/MATTHEWMAN

   AVI SCHOTTENSTEIN
   and EVAN SCHOTTENSTEIN,
                          Petitioners,
   v.
   WELLS FARGO BANK, N.A.,
   and ALEXIS SCHOTTENSTEIN,
                          Respondents.
   _______________________________/


                      ALEXIS SCHOTTENSTEIN’S MOTION TO DISMISS

           Respondent, Alexis Schottenstein (hereafter “Schottenstein”), moves this Court pursuant

   to Fed. R. Civ. P. 12 (b)(6), for failure to state a claim upon which relief may be granted. In

   support of her Motion, Schottenstein submits the following Memorandum of Law.

                                              Memorandum

                                               Introduction

           Initially, it is important to note what the proffered subpoena purports to do. Specifically,

   the subpoena seeks to require Schottenstein to “give testimony in the above-captioned arbitration

   at FINRA Dispute Resolution, Boca Center Tower 1, 5200 Center Circle, Suite 200, Boca Raton,

   Florida 33486….” In other words, a Florida arbitrator determined it appropriate to sign a subpoena

   requiring a non-party, New York resident to travel to Florida to testify. On its face, the subpoena

   is invalid.

           The Petition filed sub judice accurately states in paragraph 4 that Schottenstein is a resident

   of New York. This fact is further supported by her Affidavit attached at Tab A. Ms. Schottenstein
Case
 Case1:21-cv-20521-BB
      9:20-mc-81924-RSDocument
                       Document76-41
                                 12 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket11/02/2020
                                                            03/07/2022 Page
                                                                        Page22ofof55




   also maintained a Florida LLC, Allure Pottery LLC, which was administratively dissolved on

   September 26, 2014. Schottenstein Affidavit, paragraph 4. She maintained a second Florida LLC,

   A&F Accounting LLC, which is inactive. Schottenstein Affidavit, paragraph 5. Other than for a

   short stay in early 2019, Schottenstein has not resided in Florida since 2014, when she permanently

   moved to New York. Schottenstein Affidavit, paragraph 3. Although the Petition alleges in

   paragraph 13 that Schottenstein worked for Wells Fargo between 2009 and 2013, the Petition does

   not allege any connection between that time period and the basis for requiring a witness to travel

   more than 1,000 miles to testify in an arbitration. Moreover, upon information and belief, Ms.

   Schottenstein’s employment with Wells Fargo ended in April 2012, not in 2013. 1

                       Schottenstein Cannot be Forced to Travel More than 100 Miles

              The Federal Arbitration Act, 9 U.S.C. § 7, provides in pertinent part, that subpoenas issued

   under this section “shall be served in the same manner as subpoenas to appear and testify before

   the court….” As such, Schottenstein can not be compelled by subpoena to travel from her

   residence in New York to an arbitration hearing in South Florida. Fed. R. Civ. P. 45 (c)(1)(A)

   provides that a witness cannot be forced to travel more than 100 miles to testify at a trial.

   Furthermore, Fed. R. Civ. P. 45 (c)(2) provides that the production of documents can only occur

   within 100 miles of where a person resides, is employed or regularly transacts business in person.

   The Petition herein acknowledges that Schottenstein lives in New York. No suggestion is made

   in the Petition that she is employed in Florida, or regularly transacts business in Florida. The

   proffered subpoena seeks to force Schottenstein to travel from New York to Boca Raton. As such,

   the subpoena is a nullity. Directly on point is the recent decision in In re Managed Care Litigation,

   2020 U.S. Dist. LEXIS 117788, 2020 WL 3643042 (S.D. Fla. 2020). After considering whether




   1
       Wells Fargo’s counsel has advised that Wells Fargo’s records reflect an April 2012 termination date.
                                                              2
Case
 Case1:21-cv-20521-BB
      9:20-mc-81924-RSDocument
                       Document76-41
                                 12 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket11/02/2020
                                                            03/07/2022 Page
                                                                        Page33ofof55




   the 100 mile limits of Rule 45 apply to arbitral subpoenas, the Court concluded, “[b]ecause the

   second set of arbitral summonses seek to require the out-of-state non-party witnesses to come to

   Miami, Florida to produce documents and provide testimony at the final hearing far beyond the

   geographical limitation of Rule 45(c), the undersigned finds that the second set of arbitral

   summonses violate Rule 45 and are unenforceable.”

               The Proffered Subpoena May Not Be Used to Compel Video Testimony

            The Subpoena at issue, attached as Exhibit “C” to the Petition, sought Schottenstein’s in-

   person appearance in Boca Raton on October 19, 2020, “or on such date thereafter as determined

   by Respondents’ counsel….” In fact, the arbitration of the underlying dispute began on October

   19, but not at the Boca Raton location referenced in the subpoena. Rather, the entire arbitration

   has been conducted via videoconference, using the Zoom platform. Omitted from both the Petition

   and the Subpoena is the fact that this arbitration has been conducted via the Zoom platform. While

   Schottenstein has no idea why the proffered subpoena omits the videoconference/Zoom reference,

   it is possibly because the Arbitrators are aware of the Eleventh Circuit’s decision in Managed Care

   Advisory Group, LLC v. CIGNA Healthcare, Inc., 939 F.3d 1145 (11th Cir. 2019). Managed Care

   clearly held that 9 U.S.C. § 7’s reference to the “attendance” of a witness “before” an arbitrator is

   limited to the physical, in-person appearance of the witness before the arbitrator. The Court

   concluded, “Section 7 does not authorize district courts to compel witnesses to appear in locations

   outside the physical presence of the arbitrator, so the court may not enforce an arbitral summons

   for a witness to appear via video conference.” Id at 1160. 2 For this reason alone, the proffered

   subpoena is invalid.


   2
     Schottenstein is separately requesting leave to file a Memorandum objecting to Exhibit “H”, the subpoena directed
   to Wells Fargo. That subpoena is defective for the same reasons as the Schottenstein subpoena. Schottenstein
   objects to items 1, 2 and 3 of the Wells Fargo subpoena, which seek Schottenstein’s employment records. Those
   records are private in nature, and should not be produced without a showing that they are necessary to the defense of
   the underlying claims.
                                                             3
Case
 Case1:21-cv-20521-BB
      9:20-mc-81924-RSDocument
                       Document76-41
                                 12 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket11/02/2020
                                                            03/07/2022 Page
                                                                        Page44ofof55




       The Proffered Subpoena May Not Be Used to Compel the Production of Documents

          The Eleventh Circuit’s decision in Managed Care also dealt squarely with the issue of

   whether an out of state witness can be compelled to produce documents in connection with video

   testimony. Again, the Court held that non-parties can only be forced to produce documents when

   accompanying the requested items to an in-person hearing before an arbitrator. Given that the

   underlying hearing is taking place via videoconference, Schottenstein cannot be forced to produce

   documents. Id at 1161. Furthermore, even if the hearing was being held in-person in Boca Raton,

   which it is not, Schottenstein could not be forced to travel more than 100 miles from her residence

   in New York.

                                              Conclusion

          For the reasons set forth herein, Schottenstein respectfully requests that the Petition be

   dismissed for failure to state a claim upon which relief may be granted.

          Dated this 2nd day of November 2020.

                                                    Respectfully submitted,



                                                    /s/ David A. Weintraub    .
                                                    David A. Weintraub (FBN 437204)
                                                    David A. Weintraub, P.A.
                                                    7805 S.W. Sixth Court
                                                    Plantation, Florida 33324
                                                    Telephone: 954.693.7577
                                                    Facsimile: 954.693.7578
                                                    Primary: daw@stockbrokerlitigation.com
                                                    Secondary: vescobar@stockbrokertitigation.com




                                                   4
Case
 Case1:21-cv-20521-BB
      9:20-mc-81924-RSDocument
                       Document76-41
                                 12 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                     Docket11/02/2020
                                                            03/07/2022 Page
                                                                        Page55ofof55




                                CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that on November 2, 2020, we electronically filed the
    foregoing document with the Clerk of the Court using CM/ECF, which will send notice to the
    individuals listed on the service list below.

                                               DAVID A. WEINTRAUB, P.A.
                                               7805 S.W. Sixth Court
                                               Plantation, Florida 33324
                                               Telephone: 954.693.7577
                                               Facsimile: 954.693.7578

                                        By: /s/ David Weintraub
                                               David A. Weintraub (FBN 437204)
                                               Primary: daw@stockbrokerlitigation.com
                                               Secondary: vescobar@stockbrokertitigation.com


                                          SERVICE LIST


    Robert C. Harris, Esq.                             Dori K. Stibolt, Esq.
    HUNTER TAUBMAN FISCHER & LI LLC                    FOX ROTHSCHILD, LLP
    2 Alhambra Plaza, Suite 650                        Suite 1700
    Coral Gables, FL 33134                             West Tower,
    E-mail: rharris@htflawyers.com                     West Palm Beach, Florida 33401.

    Counsel for Petitioners –                         Counsel for Respondent
    Avi Schottenstein and Evan Schottenstein          Wells Fargo Bank, N.A.




                                                  5
